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VIA HAND DELIVERY

Richard M, Berman, U.S.D. ECEIVE j

 

OCT 21 2019
Honorable Richard M. Berman
United States District Judge CHAMBERS OF
United States District Court RICHARD MBE RMAN
Southern District of New York
500 Peari Street
New York, NY 10007

 

 

 

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Re: United States v. Turkiye Halk Bankasi, A.S., a/k/a “Halkbank,” No. S6NCr. 867
RMB

Dear Judge Berman:

lam a partner of King & Spalding LLP and an attorney admitted to practice in this
district. The U.S. Attorney’s office has informed me that the Court has issued a summons in
United States v. Turkiye Halk Bankasi, A.S., a/k/a “Halkbank,” No. S6 Cr. 867 (RMB), for an
initial appearance on October 22, 2019 at 9:15 a.m. Neither I nor my firm are authorized to
accept service on behalf of Halkbank and are not authorized to make an appearance in this case.

 

The U.S. Attorney’s office transmitted a copy of the summons to me by email on
Wednesday October 16. Although the summons claims that I am “legally authorized to receive
service of process” on behalf of defendant Halkbank, this is incorrect. Although King &
Spalding has represented Halkbank in connection with the Department of Justice’s prior
investigation regarding Halkbank, at no point has King & Spalding been authorized to accept
service of a summons or other legal process on behalf of Halkbank, and we have so informed the
U.S. Attorney’s office. Indeed, although the summons had already been executed with my name
filled in as the representative authorized to accept service, when the Assistant U.S. Attorney sent
it to me, he asked me to “confirm if you will accept service on behalf of your client or, if not, to
whom we should send it to accept service.” I informed the U.S. Attorney’s Office during our
conversation on Wednesday that I was not authorized to accept service.

 
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Page 2

We will contact the Court and the U.S. Attorney’s office if we have any new information
relevant to this matter.

Respectfully submitted,

bd ( tAd ‘OF

Andrew C. Hruska
AH3224

ce: AUSA Michael Lockard
AUSA Sidhardha Kamaraju
AUSA David Denton
AUSA Jonathan Rebold
AUSA Kiersten Fletcher
(all by electronic mail)

 
